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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION



HECTOR HERNANDEZ and
CHARLES TERMINI, individually, and on behalf of all
others similarly-situated,

           Plaintiffs,                                        Case No. 18-cv-7647

v.                                                            The Honorable Judge John Z. Lee

JAMIE RHEE, in her official capacity as Commissioner          Magistrate Judge
of the Department of Aviation; WILLIAM HELM, in               Mary M. Rowland
his individual capacity; JOSEPH ALESIA, in his
individual capacity; KEVIN MARTIN, in his individual
capacity; and, the CITY OF CHICAGO, as a municipal
corporation and as indemnitor,

           Defendants.

                         DEFENDANTS’ UNOPPOSED MOTION TO EXTEND
                              TIME TO RESPOND TO COMPLAINT

           Defendants City of Chicago, (“the City”), Jamie Rhee, William Helm, Joseph Alesia, and

Kevin Martin, through their counsel, Edward N. Siskel, Corporation Counsel of the City of

Chicago, move for an extension of time through February 25, 2019, to file a responsive pleading

to Plaintiffs’ First Amended Complaint. In support of this unopposed motion, Defendants state as

follows:

           1) Plaintiffs filed their First Amended Complaint on January 7, 2019. Dkt. No. 13.

           2) The date set for Defendants to respond to Plaintiffs’ First Amended Complaint is

               February 11, 2019.

           3) Due to the length, issues and number of Defendants in the First Amended Complaint,

               Defendants require more time to investigate and draft their responsive pleading.
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        4) This is the first request for an extension of time sought by Defendants. Defendants do

           not bring this motion for any improper purpose or delay.

        5) Plaintiffs will not be prejudiced by an extension of time to respond to Plaintiffs’ First

           Amended Complaint.

        6) Pursuant to Fed. R. Civ. P. 6(b), the City requests an extension of time through

           February 25, 2019 to file a response to Plaintiffs’ First Amended Complaint.

        7) Counsel for Plaintiffs has no objection to the relief requested by this Motion.


       For the foregoing reasons, Defendants City of Chicago, Jamie Rhee, William Helm,

Joseph Alesia, and Kevin Martin respectfully request that this Court grant an extension of time

through February 25, 2019 for Defendants to respond to Plaintiffs’ First Amended Complaint.




Dated: January 31, 2019                      Respectfully submitted,


                                             EDWARD N. SISKEL
                                             Corporation Counsel of the City of Chicago

                                             By: s/ Howard P. Levine
                                             Howard P. Levine
                                             Assistant Corporation Counsel Supervisor


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